        Case 1:21-cr-00003-RCL Document 20 Filed 03/05/21 Page 1 of 7



                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA              :
                                      :      CRIMINAL NO. 21-003 (RCL)
            v.                        :
                                      :
JACOB ANTHONY CHANSLEY,               :
                                      :
                   Defendant.         :


                 UNITED STATES’ MOTION FOR PROTECTIVE ORDER

        TheUnitedStatesofAmericaherebymovesthisCourtforaprotectiveorderpursuantto
Rule16(d)(1)oftheFederalRulesofCriminalProcedure,seekingtopreventthedissemination
ormisuseofdiscoverymaterialcontainingsensitiveinformationasfurtherdescribedbelow.
DefendantChansley,throughcounsel,AlbertWatkins,Esq.,doesnotobjecttotheCourt’sentry
oftheproposedprotectiveorder.
        1. Defendantischargedviaindictmentwithoffensesrelatedtocrimesthatoccurred
attheUnitedStatesCapitolonJanuary6,2021.Onthatdate,asaJointSessionoftheUnited
StatesHouseofRepresentativesandtheUnitedStatesSenateconvenedtocertifythevoteofthe
ElectoralCollegeofthe2020U.S.Presidential Election,membersofalargecrowdthathad
assembledoutsidetheCapitolviolentlyforcedtheirwaythroughCapitolPolicebarricadesand
into theCapitol. Multiple lawenforcementofficersprotectingtheCapitolwere threatened,
assaultedandoverwhelmedbyanenormousmob,whichincludedanumberofindividualswith
weapons,bulletproofvests,andpepperspray.TheJointSessionandtheentireofficialproceeding
oftheCongresswashaltedwhiletheCapitolPolice,theMetropolitanPoliceDepartment,and
otherlawenforcementagenciesworkedtocleartheCapitolofhundredsofunlawfuloccupants
        Case 1:21-cr-00003-RCL Document 20 Filed 03/05/21 Page 2 of 7



andensurethesafetyofelectedofficials.Thiseventinitsentiretyishereinafterreferredtoasthe
“CapitolAttack.”
        2. Over220individualshavebeenpubliclychargedinconnectionwiththeCapitol
Atack. Investigationshavebeenopenedintoseveralhundredadditionalindividuals,andthe
governmentexpectsthatmoreinvestigationswillbeopened.Thespectrumofcrimeschargedand
underinvestigationinconnectionwiththeCapitolAttackincludes(butisnotlimitedto)trespass,
engagingindisruptiveorviolentconductintheCapitoloronCapitolgrounds,destructionof
governmentproperty,theftofgovernmentproperty,assaultsonfederalandlocalpoliceofficers,
firearmsoffenses,civil disorder,obstructionofanofficialproceeding,possessionanduseof
destructivedevices,murder,seditionandconspiracy.
        3. Multipleindividualschargedorunderinvestigationare:(a)chargedorexpectedto
bechargedwithcrimesofviolence;(b)associatedwithanti-governmentmilitiaorganizationsand
othergroups(e.g.,ProudBoys,Oathkeepers,ThreePercenters,CowboysforTrump)thatdenythe
legitimacyoftheUnitedStatesgovernment;(c)coordinatedand/orparticipatedintheviolent
eventswhichtookplaceattheCapitol;and(d)havemadestatementsindicatinganintentionto
continueinsimilarviolentendeavorsuntilthecurrentadministrationisoverthrown.Dozensofthe
individualscharged,includingDefendantChansley,havebeendetainedpendingtrialbecausea
judicialofficerdeterminedthatthereleaseofsuchpersonwillnotreasonablyassuretheappearance
oftheperson,asrequired;willendangerthesafetyofanyotherpersonorthecommunity;and/or
willposeariskofobstructionofjustice.
        4. Inconnectionwiththeabove-describedcasesandon-goinginvestigations, law
enforcementandthegovernmenthaveobtainedandcontinuetoobtainvoluminousamountsof
informationandevidence relating tobothchargedanduncharged individuals. Bywayof
                                            2
         Case 1:21-cr-00003-RCL Document 20 Filed 03/05/21 Page 3 of 7



illustration,suchinformationandevidenceincludesbutisnotlimitedto:(a)surveillancevideos
fromtheU.S.CapitolandGrounds(constitutinghundredsofhoursofvideo);(b)digitaldownloads
ofhundredsofdigitaldevicesandsocialmediaaccountsthatbelongtoindividualsinvolvedinor
associatedwiththeCapitolAttack;(c)hundredsoflawenforcementbody-worncameravideos;
(c)hundredsoffinancialrecords,telephonerecords,motorvehicleandcriminalhistoryrecords;
(d)thousandsoftips;and(e)hundredsofwitnessandsourceinterviews.
         5. ConsistentwithFederalRuleofCriminalProcedureRule16, thegovernment
intendstoprovideormakeavailabletoDefendantthosedocumentsandobjectsinitspossession
thatarematerialtothepreparationofthedefense,thatthegovernmentintendstouseinitscase-
in-chiefat trial,or thatwereobtainedfromorbelongtoDefendant. Giventhenumberof
defendantschargedandthenumberofopeninvestigations,suchdiscoverymaterialsmayinclude
largevolumesofhighlysensitiveprivateandconfidentialinformationofnumerousindividuals
otherthanDefendant,aswellasmaterialswhich,ifmorewidelydisseminated,couldjeopardize
thegovernment’son-goinginvestigationsandthesecurityofwitnesses,e.g.:
         a. Records obtained fromdigital device downloads, and searches of electronic
            communications(e.g.,e-mailandsocialmedia),ofindividualsotherthanDefendant;
         b. Recordsofpersonal identifying informationof individualsother thanDefendant,
            includinganotherindividual’sdateofbirth,socialsecuritynumber,address,telephone
            number,emailaddress,driver’slicensenumber,professionallicensenumber,orfamily
            members’names,aswell ascontact informationfor,photographsof,andprivate
            conversationswithfamilymembersandassociatesnotrelatedtothecriminalconduct
            inthiscase,whichsuchindividualsmayreasonablywishtoprotectfromunnecessary
            dissemination(“PersonalInformation”);
         c. FinancialinformationofindividualsotherthanDefendant,orentitiescontrolledby
            Defendant, includingbankaccountnumbers,creditordebitcardnumbers,account
            passwords, contact information, or taxpayer identification numbers (“Financial
            Information”);
                                             3
         Case 1:21-cr-00003-RCL Document 20 Filed 03/05/21 Page 4 of 7




         d. Information regarding the government’s confidential source(s) or source(s) of
            information,includingcriminalhistories,arrestrecordsandsummariesofinformation
            providedtothegovernment(“ConfidentialSourceInformation”);
         e. Sealeddocuments,toincludesearchwarrantapplicationsandtheircontents(affidavits,
            orders)andothercourt-orderedauthorizations(e.g.,penregisters,geolocationorders,
            trackingorders)(“SealedInformation”),thatcontainPersonalInformation,Financial
            Information,orConfidentialSourceInformation;
         f. Tipsandlawenforcementreportsand/ornotes, includingreportsof interviewsof
            individualsotherthandefendant,whichmaycontainPersonalInformation;
         g. Grandjurytranscriptsandexhibits;
         h. SurveillancefootagefromtheU.S.CapitolandGrounds;
         i. Hundredsofbody-worncameravideosfromtheMetropolitanPoliceDepartment,
            ArlingtonCountyPoliceDepartment,andotherlawenforcementagenciesoperating
            onJanuary6,2021,insupportoftheprotectionoftheCapitol(constitutingthousands
            ofhoursofbody-worncameras);and
         j. Otherinvestigativeinformationnotyetpubliclyknown,thedisseminationofwhich
            could jeopardize thegovernment’son-going investigationsor the securityof its
            witnesses,whichthegovernmentwillidentifyas“Sensitive”.
         6. UndertheFederalRulesofCriminalProcedure,acourt“may,forgoodcause,deny,
restrict,ordeferdiscoveryorinspection,orgrantotherappropriaterelief”relatingtodiscoveryby
enteringaprotectiveorder.Fed.R.Crim.P.16(d)(1).“Theburdenofshowing‘goodcause’ison
thepartyseekingtheorder[.]” United States v. Cordova,806F.3d1085,1090(D.C.Cir.2015)
(citationsandalterationsomitted).Onceashowingofgoodcausehasbeenmade,thecourthas
relativelyunconstraineddiscretiontofashionanappropriateprotectiveorder. See United States v.
O'Keefe,No.06-   CR-0249,2007WL1239204,at*2(D.D.C.Apr.27,2007)(describingthecourt’s
discretionas“vast”); Cordova, 806F.3dat1090(“[A] ‘trial court canandshould,where
appropriate,placeadefendantandhiscounsel underenforceableordersagainstunwarranted
                                              4
        Case 1:21-cr-00003-RCL Document 20 Filed 03/05/21 Page 5 of 7



disclosureofthematerialswhichtheymaybeentitledtoinspect.’”(quotingAlderman v. United
States,394U.S.165,185,89S.Ct.961,22L.Ed.2d176(1969)).

         7. “Protectiveordersvaryinrangeandtype‘fromtrueblanketorders(everythingis
tentativelyprotecteduntilotherwiseordered)toverynarrowoneslimitingaccessonlytospecific
informationafteraspecificfindingofneed.’” United States v. Bulger,283F.R.D.46,52(D.Mass.
2012). “Courtsuseprotectiveorders...toexpeditetheflowofdiscoveryincasesinvolvinga
largeamountofsensitiveinformation.” United States v. Johnson, 314F.Supp.3d248,252
(D.D.C.2018)(internalquotationsandcitationsomitted).
         8. Courtsalsouseprotectiveorderswhennecessarytoprotecttheintegrityofon-
goinginvestigations. “[W]herepublicdisclosureofcertainmaterialsmightofficiallyrevealthe
sourcesandmethodslaw-enforcementofficialshaveused,andwillcontinuetouse,toinvestigate
othercriminalconductrelatedtothepubliclyfiledcharges,courtshavefounditappropriateto
enteraprotectiveorder.” United States v. Smith,985F.Supp.2d506,531(S.D.N.Y.2013),citing
United States v. Bin Laden, No. 98–   CR–1023, 2001WL66393, at *2(S.D.N.Y.Jan.25,
2001)(noting that the court adoptedaprotectiveorderbecausedisseminationofdiscovery
materialswould“jeopardizetheongoingGovernmentinvestigationintotheactivitiesofalleged
associatesoftheDefendants”).
         9. Indeterminingwhethertoissueaprotectiveorder,courtsalsotakeintoaccount
“thesafetyofwitnessesandothers,aparticulardangerofperjuryorwitnessintimidation,andthe
protectionofinformationvitaltonationalsecurity.’” Cordova,806F.3dat1090(citationsand
alterationsomitted).“Consideringthetypeofcrimechargedhelpsassessthepossiblethreatsto
thesafetyandprivacyofthevictim.Defendantsaccusedofsecuritiesfraudorshoplifting,for
instance,maynotposeasgreatadangertovictimsasthosechargedwithcrimesofviolence.”
                                               5
         Case 1:21-cr-00003-RCL Document 20 Filed 03/05/21 Page 6 of 7



                    , 355F.Supp.3d1,4(D.D.C.2019). “Alongrecordofconvictionsfor
United States v. Dixon

violentcrimesmaysuggestasubstantialdangertothesafetyofothers.Similarly,ahistoryof
failurestofollowcourtordersmayjustifyamorerestrictiveprotectiveorder.”Id.
        10. Theentryofthisorderwillpermitthegovernmenttoproduceexpeditiouslythe
disclosurematerialwithoutfurtherlitigationortheneedforredaction. Itwillalsoaffordthe
defensepromptaccesstothosematerials,inunredactedform,whichwillfacilitatethepreparation
ofthedefense.
        11. DefensecounselhasauthorizedthegovernmenttostatethatDefendanthasno
objectiontothismotion.




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        Case 1:21-cr-00003-RCL Document 20 Filed 03/05/21 Page 7 of 7



       WHEREFORE,toexpeditethegovernment’sdisclosureofdiscoverymaterials,andto
adequatelyprotecttheprivacyinterestsofthepersonsidentifiedthereinandtheintegrityofthe
government’son-goinginvestigationsandthesecurityofwitnesses,thegovernmentrequeststhat
pursuanttotheCourt’sauthorityunderFed.R.Crim.P.16(d)(1),theCourtentertheattached
proposedorder.
Dated:March4,2021
                                    Respectfullysubmitted,
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                                    ActingUnitedStatesAttorney
                                By:          /s/
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